
983 So.2d 908 (2008)
SOUTH PETERS HOTEL INVESTORS, LP
v.
ROY ANDERSON CORP., et al.
No. 2008-CC-1035.
Supreme Court of Louisiana.
June 6, 2008.
In re South Peters Hotel Investors, LP;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. L, No. 2005-06170; to the Court of Appeal, Fourth Circuit, No. 2008-C-0106.
Granted. Considering the complex facts of this case, we do not find the trial court abused its discretion in referring the prescription issues to the merits. Accordingly, the judgment of the court of appeal is set aside, and the judgment of the trial court is reinstated. See Short v. Griffin, 95-680 (La.6/16/95), 656 So.2d 635.
